                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                              No. CR08-3013-MWB
 vs.                                          REPORT AND RECOMMENDATION
                                                ON MOTION TO DISMISS AND
 KATHY PECK,
                                                   MOTION TO SUPPRESS
                Defendant.
                                 ____________________


         This matter is before the court on a Motion to Dismiss Indictment and Motion to
Suppress filed by the defendant Kathy Peck on September 16, 2008. Doc. No. 78. On
April 24, 2008, Peck and two codefendants were charged with conspiracy to distribute
methamphetamine within 1,000 feet of a school, in violation of 21 U.S.C. § 846. See
Doc. No. 4. Peck filed the current motion seeking dismissal of the Indictment on the basis
that it violates her right against double jeopardy. She argues the conduct with which she
is charged in this case is identical to conduct that formed the basis for a state charge to
which she pled guilty on March 8, 2007. She bases her double jeopardy argument on an
internal Department of Justice (“DOJ”) policy, called the Petitie policy, that bars
subsequent federal prosecution after a conviction or acquittal for the same conduct. Cf.
Petite v. United States, 361 U.S. 529, 80 S. Ct. 450, 4 L. Ed. 2d 490 (1960), the case for
which the DOJ policy is named.         Alternatively, should the court not dismiss the
indictment, she argues all evidence that formed the basis for the state charge should be
suppressed.
         Pursuant to the Trial Management Order, Doc. No. 13, pretrial motions were
assigned to the undersigned for review and the filing of a recommended disposition.
Accordingly, the undersigned held a hearing on Peck’s motion on October 14, 2008. Peck
was represented at the hearing by attorney James P. McGuire. Peck was not present at the


       Case 3:08-cr-03013-MWB-LTS      Document 86      Filed 10/15/08    Page 1 of 3
hearing; Mr. McGuire represented that she had waived her right to be present. The
plaintiff (the “Government”) was represented by Assistant U.S. Attorney John Lammers.
       Despite Peck’s claim in her motion that the present case involves conduct identical
to the conduct for which she was convicted in state court, she failed to offer any evidence
of that fact at the hearing, nor did she offer evidence on any other issue before the court.
With no evidentiary record, the court is unable to reach the defendant’s argument, and the
motion could be denied solely on that basis.
       However, even if Peck had offered evidence to show the present case arises from
identical conduct to the state case, she could not prevail on her motion for at least two
reasons. Firstly, the Petite policy “is a discretionary policy of the Department of Justice.
It does not confer any substantive rights and its application cannot form the basis for a
claim of improper prosecution.” United States v. Leathers, 354 F.3d 955, 962 (8th Cir.
2004). Peck has cited no case in which any court has held otherwise. Secondly, Peck’s
state court conviction was for possession with intent to deliver methamphetamine, whereas
the current charge is for conspiracy to distribute methamphetamine. Again, Peck has
failed to cite any case in which a court had held the Government is precluded from
including allegations of specific conduct, even previously-charged conduct, in a subsequent
conspiracy charge. The elements of a conspiracy are different from the elements of the
underlying charge, overcoming any double jeopardy argument. Therefore, Peck’s motion
should be denied on its merits.
       For these reasons, IT IS RESPECTFULLY RECOMMENDED that Peck’s motion
to dismiss and to suppress be denied. Objections to this Report and Recommendation are
due by October 22, 2008. Responses to objections are due by October 24, 2008.
       IMPORTANT NOTE: Any party planning to lodge an objection to this Report and
Recommendation must order a transcript of the hearing no later than October 17, 2008,
regardless of whether the party believes a transcript is necessary to argue the


                                             2


    Case 3:08-cr-03013-MWB-LTS          Document 86      Filed 10/15/08    Page 2 of 3
objection. If an attorney files an objection without having ordered the transcript as
required by this order, the court may impose sanctions on the attorney.
      IT IS SO ORDERED.
      DATED this 15th day of October, 2008.




                                        PAUL A. ZOSS
                                        CHIEF MAGISTRATE JUDGE
                                        UNITED STATES DISTRICT COURT




                                           3


    Case 3:08-cr-03013-MWB-LTS        Document 86     Filed 10/15/08      Page 3 of 3
